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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Hualapai Indian Tribe,                           No. CV-24-08154-PCT-DJH
10                 Plaintiff,                         ORDER
11   v.
12   Debra Haaland, et al.,
13                 Defendants.
14
15          Before the Court is the parties’ Joint Motion to Reschedule Scheduling
16   Conference and Extend Deadline for Joint Case Management Report (Doc. 83). Good
17   cause appearing,
18          IT IS ORDERED granting the Joint Motion (Doc. 83). Plaintiff shall file its
19   Amended Complaint no later than December 13, 2024. Defendants shall file their
20   respective responses to Plaintiff’s Amended Complaint no later than February 7, 2025.
21          IT IS FURTHER ORDERED that the Rule 16 Scheduling Conference set for
22   December 17, 2024, is vacated and reset to April 8, 2025, at 10:00 a.m. in Courtroom
23   605, Sandra Day O’Connor United States Courthouse, 401 W. Washington Street,
24   Phoenix, Arizona 85003. The remainder of the Court’s Order (Doc. 82) is otherwise
25   affirmed.
26          Dated this 9th day of December, 2024.
27                                               Honorable Diane J. Humetewa
                                                 United States District Judge
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